        Case 3:22-cv-00401-JD Document 98 Filed 07/25/22 Page 1 of 7




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14

15                                UNITED STATES DISTRICT COURT

16               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

17

18 TAMMY RODRIGUEZ, individually and as              Case No. 3:22-cv-00401
   the Personal Representative of the Estate of
19 Selena Rodriguez,                                 DEFENDANT SNAP INC.’S
                                                     SUPPLEMENTAL BRIEF IN SUPPORT
20                  Plaintiff,                       OF MOTION TO DISMISS SECOND
                                                     AMENDED COMPLAINT
21         vs.
                                                     Date Action Filed:    January 20, 2022
22 META PLATFORMS, INC., formerly known              Judge:                Judge James Donato
   as FACEBOOK, INC.; SNAP, INC.; TIKTOK             Trial Date:           Not set
23 INC.; and BYTEDANCE INC.,                         Hearing Date:         October 13, 2022
                                                     Hearing Time:         10:00 a.m.
24                  Defendants.                      Courtroom:            11, 19th Floor

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                                                                              Case No. 3:22-cv-00401
                       DEFENDANT SNAP INC.’S SUPPL. BR. ISO MOT. TO DISMISS SAC
         Case 3:22-cv-00401-JD Document 98 Filed 07/25/22 Page 2 of 7




 1 I.         INTRODUCTION
 2            Snap operates a camera and communications application called Snapchat, whose core

 3 feature is its messaging functionality. Snapchat allows users to have conversations by exchanging

 4 messages called “snaps.” Although Plaintiff tries to lump all three defendants together, the specific

 5 allegations of the Second Amended Complaint (“SAC”) concede, as they must, that Snapchat is

 6 fundamentally different from the other defendants’ platforms. Snapchat was founded as an

 7 alternative to traditional “broadcast” social media platforms that open to a refreshable feed of public

 8 or broadly-shared content. Instead, Snapchat offers a platform primarily for online communications

 9 between real friends that—like real, in-person conversations—are set to disappear after being

10 viewed, rather than create a public or permanent record. Second Amended Complaint (“SAC”)

11 ¶ 37. Snap takes seriously its users’ well-being and is committed to prioritizing both their safety

12 and privacy. Snapchat thus prohibits sexually explicit content and sharing private snaps without

13 consent, and does not enable searchable public profiles for minor users. Rather, Snapchat focuses

14 on facilitating communications between people who already know each other in real life.

15            Without differentiating among platforms, Plaintiff alleges that her daughter Selena was a

16 heavy user of “social media” generally who was victimized by third parties on various platforms,

17 suffered real-world bullying in school, and later committed suicide. Selena’s death is a horrific

18 tragedy. As the Joint Motion to Dismiss (“Joint Motion”) explains, however, multiple legal

19 principles prohibit holding Internet platforms—as opposed to the third parties who perpetrated the

20 alleged harm—liable. This is particularly true in the case of Snap. Indeed, when the allegations

21 directed specifically at Snap—of which there are few—are isolated and considered, it is clear that

22 they fail to state a claim:

23             First, the SAC’s specific allegations establish that the claims against Snap rest on alleged
24              harassing Snapchat messages Selena received from third parties after meeting them on

25              other platforms. Plaintiff does not allege that any of Selena’s specific encounters began

26              on Snapchat, or that Snapchat prompted or recommended any harmful content to Selena

27              (algorithmically or otherwise). Claims seeking to hold a platform liable for harmful direct

28              messages fall within the heartland of Section 230 and should be dismissed. Barnes v.

                                                  -1-                           Case No. 3:22-cv-00401
                         DEFENDANT SNAP INC.’S SUPPL. BR. ISO MOT. TO DISMISS SAC
         Case 3:22-cv-00401-JD Document 98 Filed 07/25/22 Page 3 of 7




 1              Yahoo!, Inc., 570 F.3d 1096, 1103 (9th Cir. 2009) (liability for “fail[ing] to remove”

 2              content “treat[s] the liable party as a publisher of that content”). Snap cares deeply about

 3              its users’ safety and devotes significant resources to detecting and removing harmful

 4              content.1 But holding Snap liable for failing to manually monitor all private user

 5              communications to ensure no single user sends a harmful message both invades user

 6              privacy and is contrary to the purposes of the CDA, which is to encourage the voluntary

 7              moderation of content without fear of liability for content missed. Id. at 1099–1100.

 8             Second, the allegations regarding Selena’s use of Snapchat make clear that it was not
 9              Snap that proximately caused her harm, but rather the criminal actions of third parties

10              who harassed and tormented her. Snapchat’s provision of a neutral communications

11              platform that some (but not all) of Selena’s tormenters abused does not establish

12              causation as a matter of law.

13 II.        FACTUAL ALLEGATIONS REGARDING SNAPCHAT
14            The allegations about Snapchat are sparse. Plaintiff’s daughter, Selena Rodriguez, allegedly
15 began using Snapchat, Instagram, and TikTok, when she was 9 years old, though Snapchat prohibits

16 users under 13. SAC ¶ 103. Plaintiff alleges that Selena became addicted to “social media” though

17 does not differentiate among platforms. The SAC describes exploitative conversations Selena had

18 with people on Instagram, in which explicit messages and photos were exchanged. Id. ¶¶ 115-32.

19 The SAC then alleges that Selena “would receive a message from an adult user on Instagram telling

20 her to send lewd photos of herself on Snapchat or TikTok,” and that on two (of at least eight)

21 occasions, a discussion “moved” to Snapchat. Id. ¶¶ 122, 128–130. An image Selena allegedly sent

22 on Snapchat was circulated among her classmates. Id. ¶ 110.

23            Although Plaintiff refers generically to the alleged harmful effect of “algorithms” that

24 allegedly “directed [Selena] to harmful content and connected her with sexual predators,” Dkt. No.

25 64 at 1 (CMS); SAC ¶¶ 75-84, there are no allegations that any Snapchat algorithm directed her to

26 harmful content or users and Plaintiff’s specific allegations as to Snap do not focus on the

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28    For example, Snap uses computer tools designed to prevent, detect, and enforce against
     particularly dangerous content, like known drug symbols and child sexual abuse materials.
                                                  -2-                           Case No. 3:22-cv-00401
                         DEFENDANT SNAP INC.’S SUPPL. BR. ISO MOT. TO DISMISS SAC
            Case 3:22-cv-00401-JD Document 98 Filed 07/25/22 Page 4 of 7




 1 algorithmic delivery of content. Compare SAC ¶¶ 28–29 (Meta), ¶¶ 47–49 (TikTok), ¶¶ 37–40

 2 (Snap). Nor does Plaintiff allege that any of the bad users—most of whom were “complete

 3 strangers” (id. ¶ 104)—first contacted Selena on Snapchat or even that minors’ profiles are publicly

 4 searchable on Snapchat. Cf. id. ¶ 123 (alleging exchanges on Instagram “originat[ed] because of” a

 5 “public profile product feature”). The allegations against Snap are all based on Selena’s use of

 6 Snapchat for direct messaging: that Selena was solicited by adults elsewhere and then used

 7 Snapchat’s messaging tools to communicate with them. Id. ¶¶ 115, 122, 129-30.

 8             Although the complaint mentions Snapchat features beyond the core messaging functionality,

 9 it does not connect them to this case; for instance, Plaintiff cites “trophies, streaks,2 and other signals

10 of social recognition” on Snapchat, but does not identify any harm to Selena from them. SAC ¶ 39.

11             The SAC also devotes multiple paragraphs to the internal documents and public statements

12 of another defendant. E.g., SAC ¶¶ 74, 98. These documents have no connection to Snapchat and

13 may not be considered as to Snap. In re Nexus 6P Prods. Liab. Litig., 293 F. Supp. 3d 888, 908

14 (N.D. Cal. 2008) (plaintiff cannot “obfuscate[] what role[]” each defendant “independently played in

15 the alleged harm and whether [each] is liable for its own conduct.”).

16 III.        THE CDA BARS PLAINTIFF’S CLAIMS AGAINST SNAP
17             A.     The Allegations Against Snap Run Headlong Into the CDA
18             As the Joint Motion explains, third-party content is at the heart of Plaintiff’s claims against
19 all Defendants. See Joint Mot. at 9-11. But this is particularly true as to Snap, where Selena is not

20 alleged to have had any harmful content or users pushed to her via Snapchat (algorithmically or

21 otherwise) and where Plaintiff does not allege that any damaging encounters began on Snapchat

22 (rather, they began on other platforms and “moved” to Snapchat).

23             Courts consistently have refused to hold Snap liable under such circumstances. For instance,

24 in Doe through Next Friend Roe v. Snap, Inc., 2022 WL 2528615 (S.D. Tex. July 7, 2022), a federal

25 court recently dismissed claims against Snap based on a teacher’s alleged use of the platform to

26 sexually abuse her student. The court rejected Plaintiff’s products liability theories, which alleged

27 that Snapchat was negligently designed to “draw[] in sexual predators and allow[] them to act with

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         “Streaks” are not “likes” (SAC ¶ 39); they show how many days one person messaged another.
                                                   -3-                           Case No. 3:22-cv-00401
                          DEFENDANT SNAP INC.’S SUPPL. BR. ISO MOT. TO DISMISS SAC
         Case 3:22-cv-00401-JD Document 98 Filed 07/25/22 Page 5 of 7




 1 impunity,”’ including by allowing the use of “false birth dates,” and “creating a platform that deletes

 2 messages and images shortly after they are sent,” id. at *12, correctly noting that these allegations

 3 were simply a dressed-up attempt to hold Snap liable for messages sent by the teacher and were thus

 4 barred by the CDA. Id. at *15. And in Palmer v. Savoy, 2021 WL 3559047 (N.C. Super. July 28,

 5 2021), the court rejected the plaintiff’s similar products liability theory that Snapchat’s “ephemeral

 6 nature” was “designed” and used to “promote[] . . . graphic sexual violence,” such that Snap could

 7 be held liable for revenge porn images of the plaintiff shared on the platform. Id. at *1, *2. Rather,

 8 the court held that the plaintiff’s claims “depend[ed] upon the actual content of the snaps taken by”

 9 third parties, dismissing the claims as barred by the CDA. Id. at *6; see also Grossman v. Rockaway

10 Tp., 2019 WL 2649153, at *4, *7 (N.J. Super. June 10, 2019) (rejecting attempt to transform claim

11 based on harmful third-party messages into a claim of Snapchat’s “unreasonably dangerous” design).

12          B.     Plaintiff's Attempt to Evade the CDA Fails As to Snap
13          Nor can Plaintiff evade the CDA by focusing on Snap’s “disappearing messages” feature.
14 The decision to delete content—i.e. make it ephemeral (see SAC ¶ 37)—is squarely within the

15 publisher activity covered by the CDA. Murphy v. Twitter, Inc., 60 Cal. App. 5th 12, 25-27 (2021)

16 (collecting cases dismissing claims seeking to hold platforms “liable for removing or blocking

17 content”); Palmer, 2021 WL 35590 at *2, 6 (“ephemeral nature” of snaps protected by CDA); Doe,

18 2022 WL 2528615 at *15 (“allow[ing] [snaps] to automatically delete after a short period of time”

19 protected by CDA). Moreover, Snap hardly pioneered ephemeral communications—throughout

20 history, almost all communications have been ephemeral, from in-person to telephone conversations,

21 to Zoom and FaceTime calls today. Cf. In re Zoom Video Commc’ns Inc. Priv. Litig., 525 F. Supp.

22 3d 1017, 1034 (N.D. Cal. 2021) (CDA barred claims based on third parties “disrupt[ing] Zoom

23 meetings”). The SAC also concedes that the majority of harmful conversations to which Selena was

24 subjected—including harassing conversations and the exchange of sexually explicit images—

25 occurred without regard to the ephemerality of the platform: indeed, the SAC details multiple such

26 conversations on other platforms where the communications were not deleted. E.g., SAC ¶ 125.

27          Likewise, the alleged fact that Snapchat makes special effects, music, and videos available

28 for users to incorporate into their posts, SAC ¶¶ 43, 136, 181-82, does not transform Snap into an

                                                -4-                           Case No. 3:22-cv-00401
                       DEFENDANT SNAP INC.’S SUPPL. BR. ISO MOT. TO DISMISS SAC
         Case 3:22-cv-00401-JD Document 98 Filed 07/25/22 Page 6 of 7




 1 “information content provider”; to qualify, a platform must “contribute[] materially to the alleged

 2 illegality of the conduct.” Fair Hous. Council of San Fernando Valley v. Roommates.com, LLC,

 3 521 F.3d 1157, 1165, 1167-68 (9th Cir. 2008). Plaintiff does not allege that the music or special

 4 effects themselves contributed to the illegality of any content at issue. Moreover, providing such

 5 content neutral tools to create and display content does not render Snap an information content

 6 provider. See Dyroff v. Ultimate Software Grp., Inc., 934 F.3d 1093, 1098-99 (9th Cir. 2019).

 7          Finally, Plaintiff’s theory has undesirable consequences. Plaintiff faults Snap for failing to

 8 manually screen the content of all private user messages and prevent misconduct or report

 9 unhealthy use. That outcome is directly at odds with the balance Congress struck with Section 230

10 and risks a chilling effect on speech and the free flow of information. See Jane Doe No. 1 v.

11 Backpage.com, LLC, 817 F.3d 12, 19 (1st Cir. 2016) (platforms “may have an infinite number of

12 users generating an enormous amount of potentially harmful content, and holding website operators

13 liable for that content ‘would have an obvious chilling effect’”) (citation omitted); Zeran v. Am.

14 Online, Inc., 129 F.3d 327, 333 (4th Cir. 1997) (without immunity platforms would face an

15 “impossible burden” and “ceaseless choices” between suppressing speech or prohibitive liability).

16 IV.      PLAINTIFF HAS NOT ALLEGED CAUSATION AS TO SNAP
17          Plaintiff’s specific allegations against Snap also make clear that Snap was not the proximate
18 cause of Selena’s harm. Rather, it was criminal third parties—who allegedly found and connected

19 with Selena on other platforms—whose actions led to Selena’s suicide. SAC ¶¶ 112, 122, 128–133;

20 Joint Mot. at 16-17. There is no allegation that Snap itself recommended or connected Selena to any

21 harmful third-party content or users. At most, the SAC alleges that Snap provided a neutral

22 communications platform where Selena received allegedly harassing messages from third parties.

23 As a matter of law, providing this communications platform did not legally cause Selena’s harm.

24 See Fields v. Twitter, Inc., 881 F.3d 739, 749-50 (9th Cir. 2018) (no proximate cause where Twitter

25 allegedly “facilitated the organization’s growth and ability to plan and execute terrorist acts”);

26 Crosby v. Twitter, Inc., 921 F.3d 617, 624-25 (6th Cir. 2019) (dismissing claims against platforms

27 for mass shooting; defendants “do not proximately cause all the[] potential ripples” of harm that

28 flow from “‘highly interconnected’ nature of social media”).

                                                 -5-                           Case No. 3:22-cv-00401
                        DEFENDANT SNAP INC.’S SUPPL. BR. ISO MOT. TO DISMISS SAC
       Case 3:22-cv-00401-JD Document 98 Filed 07/25/22 Page 7 of 7




 1 DATED: July 25, 2022                  MUNGER, TOLLES & OLSON LLP

 2                                       By:          /s/ Jonathan H. Blavin
 3                                            JONATHAN H. BLAVIN
                                         Attorneys for SNAP INC.
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                                           -6-                           Case No. 3:22-cv-00401
                  DEFENDANT SNAP INC.’S SUPPL. BR. ISO MOT. TO DISMISS SAC
